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                                MOTION TO WITHDRAW DKT. 430
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 8                        IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE SOUTHERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                  Case No. 3:18-cr-04683-GPC
                                                Hon. Gonzalo P. Curiel
12         Plaintiff,
13                                              MOTION TO WITHDRAW DKT. 430
     v.
14
     JACOB BYCHAK, et al.
15
           Defendants.
16
17
18         Defendants move to withdraw Dkt. 430. The objection was filed with an incorrect
19 caption and signature. The corrected version has been filed at Dkt. 431. No substantive
20 changes were made, and Dkt. 431 is identical in all respects to Dkt. 430 but for the
21 caption and signature.
22                                             Respectfully submitted,
23 Dated: May 19, 2022                        BIENERT KATZMAN LITTRELL
24                                            WILLIAMS LLP
25                                            By: /s/ Whitney Z. Bernstein
                                                   Thomas H. Bienert, Jr.
26                                                 James D. Riddet
                                                   Whitney Z. Bernstein
27
                                                   Carlos A. Nevarez
28                                                 Attorneys for Mohammed Abdul Qayyum

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                                 MOTION TO WITHDRAW DKT. 430
     Case 3:18-cr-04683-GPC Document 432 Filed 05/19/22 PageID.6585 Page 3 of 5



 1
 2 Dated: May 19, 2022                    MINTZ LEVIN COHN FERRIS
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                                          By: /s/ Randy K. Jones
 4                                            Randy K. Jones
 5                                            Daniel J. Goodrich (Pro Hac)
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 6                                            Attorneys for Mark Manoogian
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12   Dated: May 19, 2022                   BIRD, MARELLA, BOXER, WOLPERT,
                                           NESSIM, DROOKS, LINCENBERG &
13                                         RHOW, P.C.
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                                           By: /s/ Gary S. Lincenberg
15                                             Gary S. Lincenberg
16                                             Nicole Rodriguez Van Dyk
                                               Darren L. Patrick
17                                             Alexis A. Wiseley
18                                             Attorneys for Petr Pacas

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                             MOTION TO WITHDRAW DKT. 430
     Case 3:18-cr-04683-GPC Document 432 Filed 05/19/22 PageID.6586 Page 4 of 5



 1           CERTIFICATION OF AUTHORIZATION TO SIGN SIGNATURE
 2         The undersigned counsel of record for Defendant Mohammed Abdul Qayyum
 3 certifies that the content of this document is acceptable to each of the Defendants’ counsel
 4 whose electronic signature appears thereon, and that I have obtained their authorization to
 5 sign this document on their behalf.
 6
 7                                               /s/ Whitney Z. Bernstein
                                                     Whitney z. Bernstein
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                                              1                             3:18-cr-04683-GPC
                                CERTIFICATE OF AUTHORIZATION
     Case 3:18-cr-04683-GPC Document 432 Filed 05/19/22 PageID.6587 Page 5 of 5



 1                               CERTIFICATE OF SERVICE
 2         Counsel for Mohammed Abdul Qayyum certifies that the foregoing pleading has
 3 been electronically served on the following parties by virtue of their registration with the
 4 CM/ECF system:
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15
                                                       /s/ Whitney Z. Bernstein.
16                                                         Whitney Z. Bernstein
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                                              1                             3:18-cr-04683-GPC
                                CERTIFICATE OF AUTHORIZATION
